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     Justine De Caires, Grae Kindel,
8
     Alexis Camacho, and Jessica Pan,
9    on behalf of themselves
     and all others similarly situated
10

11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
13

14
                                                        Case No. 3:22-cv-6857
15   EMMANUEL CORNET, JUSTINE DE
     CAIRES, GRAE KINDEL, ALEXIS
16   CAMACHO, AND JESSICA PAN, on behalf                CLASS ACTION COMPLAINT
     of themselves and all others similarly situated,
17
                                                           1. VIOLATION OF WARN ACT (29
18                            Plaintiffs,                     U.S.C. §§ 2101 ET SEQ.)
                                                           2. VIOLATION OF CALIFORNIA
19                   v.                                       WARN ACT (CAL. LAB. CODE §§
20                                                            1400 ET SEQ.)
     TWITTER, INC.                                         3. DECLARATORY JUDGMENT ACT,
21                                                            28 U.S.C. §§ 2201-02
                               Defendant.
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1
     I.     INTRODUCTION
2
            1.      Emmanuel Cornet, Justine De Caires, Grae Kindel, Alexis Camacho, and Jessica
3
     Pan, individually and on behalf of all others similarly situated, file this Class Action Complaint
4
     against Defendant Twitter, Inc. (“Twitter”) for its violation and anticipated further violation of
5
     the federal Worker Adjustment and Retraining Notification Act, 29 U.S.C. § 2101 et seq. (the
6
     “WARN Act”), as well as the California WARN Act, Cal. Lab. Code § 1400 et seq. (the
7
     “California WARN Act”).
8
            2.      As described further below, shortly after the company’s purchase by Elon Musk,
9

10
     during the first week of November 2022, Twitter began a mass layoff. It has been widely

11   reported that Twitter plans to lay off about 3,700 employees, approximately 50% of its total

12   workforce. See, e.g., Jon Brodkin, Musk to cut half of Twitter jobs and end remote work for the

13   rest, report says, ARS TECHNICA (November 3, 2022), https://arstechnica.com/tech-

14   policy/2022/11/report-musk-to-lay-off-50-of-twitter-staff-reverse-work-from-home-policy/; Kate

15   Conger, Elon Musk Begins Layoffs at Twitter, NEW YORK TIMES (November 3, 2022),
16   https://www.nytimes.com/2022/11/03/technology/twitter-layoffs-elon-musk.html?smid=nytcore-
17   ios-share&referringSource=articleShare; Alex Heath, Elon Musk’s Twitter layoffs are starting,
18   THE VERGE (November 3, 2022), https://www.theverge.com/2022/11/3/23439802/elon-musks-
19   twitter-layoffs-start-friday-november-4; Kali Hays, Elon Musk starts layoffs at Twitter
20   immediately after an email went out saying cuts would start the next day, BUSINESS INSIDER,
21
     https://www.businessinsider.com/layoffs-at-twitter-begin-night-before-elon-musk-said-they-
22
     would-2022-11.
23
            3.      Twitter began the layoffs with a few employees. For example, on November 1,
24
     2022, Twitter terminated Plaintiff Emmanuel Cornet without providing advanced written
25
     warning, as required by the federal WARN Act and California WARN Act, which require sixty
26
     (60) days advance written notice of a mass layoff.
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             4.      On November 3, 2022, Plaintiffs Justine De Caires, Jessica Pan, and Grae Kindel
2
     were locked out of their Twitter accounts, which they understood to signal that they were being
3
     laid off.
4
             5.      Plaintiffs are very concerned that Twitter will continue these layoffs without
5
     providing the requisite notice. News reports have stated that more widespread layoffs will
6
     proceed beginning tomorrow, November 4, 2022.
7
             6.      Another company owned by Elon Musk, Tesla, recently engaged in mass layoffs
8
     without notice. That company attempted to obtain releases from laid off employees without
9

10
     informing them of their rights under the federal or California WARN Acts. A federal court

11   subsequently ordered the company to provide employees notice of the claims that had been filed

12   on their behalf. See Lynch v. Tesla, Inc., 2022 WL 42952953 *6 (W.D. Tex. Sept. 16, 2022).

13           7.      Plaintiffs file this action seeking to ensure that Twitter comply with the law and6

14   provide the requisite notice or severance payment in connection with the anticipated layoffs and

15   that it not solicit releases of claims of any employees without informing them of the pendency of
16   this action and their right to pursue their claims under the federal or California WARN Act.
17           8.      Plaintiffs seek immediate injunctive relief, as well as a declaratory judgment
18   under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, on behalf of themselves and all
19   similarly situated employees, precluding Twitter from circumventing the requirements of the
20   WARN Act and the California WARN Act.
21
     3II.    PARTIES
22
             9.      Plaintiff Emmanuel Cornet is an adult resident of San Francisco, California,
23
     where he worked from January 2021 until his layoff on November 1, 2022.
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             10.     Plaintiff Justine De Caires is an adult resident of San Francisco, California, where
25
     they have worked as an employee of Twitter assigned to Twitter’s office in San Francisco.
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            11.     Plaintiff Grae Kindel is an adult resident of Medford, Massachusetts, where they
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     have worked as an employee of Twitter assigned to Twitter’s office in Cambridge,
3
     Massachusetts.
4
            12.     Plaintiff Alexis Camacho is an adult resident of Honolulu, Hawaii, where she has
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     worked as an employee of Twitter assigned to Twitter’s headquarters in San Francisco,
6
     California.
7
            13.     Plaintiff Jessica Pan is an adult resident of Alameda, California, where she has
8
     worked as an employee of Twitter assigned to Twitter’s headquarters in San Francisco,
9

10
     California.

11          14.     Plaintiffs Cornet, De Caires, Pan, and Kindel bring this lawsuit as a Rule 23 class

12   action asserting (1) a federal WARN Act claim on behalf of all Twitter employees throughout

13   the United States who are laid off in a “mass layoff” or “plant closing,” as defined by the WARN

14   Act, following the purchase of Twitter by Elon Musk, and who are not given a minimum of sixty

15   (60) days’ written notice of termination and (2) a California WARN Act claim on behalf of all
16   California Twitter employees who are laid off in a “mass layoff” or “plant closing,” as defined
17   by the California WARN Act, following the purchase of Twitter by Elon Musk, and who are not
18   given a minimum of sixty (60) days’ written notice of termination.
19          15.     All Plaintiffs bring a declaratory judgment claim asking the Court to enjoin
20   Twitter from violating the federal and California WARN Act and from soliciting releases from
21
     employees who are being laid off without informing them of the pendency of this case and their
22
     rights under those statutes.
23
            16.     Defendant Twitter, Inc. (“Twitter”) is a Delaware corporation, headquartered in
24
     San Francisco, California.
25
     III.   JURISDICTION
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            17.     This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1331 and
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1
     29 U.S.C. § 2104(a)(5).
2
               18.   This Court has personal jurisdiction over this matter because Twitter is
3
     headquartered in this District and conducts substantial business operations in this District.
4
               19.   This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiffs’
5
     state law claims, because those claims derive from a common nucleus of operative facts with
6
     Plaintiffs’ federal claims.
7
     IV.       STATEMENT OF FACTS
8
               20.   Twitter employs thousands of people across the United States. Following the
9

10
     purchase of the company by Elon Musk, in early November 2022, Twitter initiated what has

11   been widely reported as a mass layoff of employees at its sites across the country. It has been

12   widely reported in the media that Twitter’s CEO Elon Musk communicated to Twitter’s staff that

13   the company plans to eliminate approximately 3,700 of Twitter’s employees, making up about

14   50% of its total workforce. See, e.g., Jon Brodkin, Musk to cut half of Twitter jobs and end

15   remote work for the rest, report says, ARS TECHNICA (November 3, 2022),
16   https://arstechnica.com/tech-policy/2022/11/report-musk-to-lay-off-50-of-twitter-staff-reverse-
17   work-from-home-policy/.
18             21.   Plaintiffs Cornet, De Caires, Camacho, and Pan have been employed in Twitter’s
19   headquarters in San Francisco, California, and Plaintiff Kindel was employed in Twitter’s office
20   in Cambridge, Massachusetts.
21
               22.   As an early example of the anticipated mass layoff, on November 1, 2022,
22
     Plaintiff Cornet was notified that his employment was being terminated effective immediately.
23
     Twitter did not provide sixty (60) days advance written notice (or any advance notice at all) to
24
     Plaintiff Cornet of his impending layoff. Nor did Twitter provide any severance pay to Plaintiff
25
     Cornet.
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            23.     Although not formally notified of a layoff, or given any advance notice, Plaintiffs
2
     De Caires, Pan, and Kindel were locked out of their company accounts on November 3, 2022.
3
            24.     At all relevant times, Twitter employed 100 or more employees, exclusive of part-
4
     time employees, (i.e., those employees who had worked fewer than 6 of the 12 months prior to
5
     the date notice was required to be given or who had worked fewer than an average of 20 hours
6
     per week during the 90 day period prior to the date notice was required to be given), or employed
7
     100 or more employees who in the aggregate worked at least 4,000 hours per week exclusive of
8
     hours of overtime within the United States and within California.
9

10
            25.     These anticipated terminations are expected to result in the loss of employment

11   for more than 500 employees (excluding part-time employees).

12          26.     However, Twitter has given no formal written advance notice of these anticipated

13   layoffs – not sixty (60) days in advance of the terminations, nor as much notice as practicable

14   under the circumstances.

15          27.     It has also been reported that California’s Employment Development Department
16   has not received notice of a mass layoff from Twitter. See Kate Conger, Elon Musk Begins
17   Layoffs at Twitter, NEW YORK TIMES (November 3, 2022),
18   https://www.nytimes.com/2022/11/03/technology/twitter-layoffs-elon-musk.html?smid=nytcore-
19   ios-share&referringSource=articleShare.
20          28.     Elon Musk, who owns Twitter, engaged in similar violations of the WARN Act
21
     and the California WARN Act earlier during the summer of 2022, when another company he
22
     owns, Tesla, engaged in mass layoffs without providing advanced written notice. Several former
23
     Tesla employees brought a suit against Tesla for these violations. See Lynch et al. v. Tesla, Inc.,
24
     Civ. Act. No., 1:22-cv-00597-RP (W.D. Tex.). When informing employees of their layoff, Tesla
25
     sought to obtain full releases of all WARN Act and California WARN Act claims in exchange
26
     for small severance payments of one or two weeks pay (significantly less than the sixty (60) days
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                                                   6
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     pay and benefits required to satisfy the WARN Act and the California WARN Act). See Lynch,
2
     2022 WL 4295295, at *1-4. A federal court ruled that Tesla’s conduct was “misleading because
3
     [the separation agreements] fail to inform potential class members of this lawsuit and the rights
4
     that they are potentially giving up under the WARN Act.” Id. at *4.
5
            29.     Plaintiffs here are reasonably concerned that, absent court intervention, Twitter
6
     will engage in similar behavior and seek releases from laid off employees without informing
7
     them of their rights or the pendency of this case. Plaintiffs have therefore brought this complaint
8
     seeking immediate relief to ensure that Twitter does not violate the federal and California
9

10
     WARN Act and then seek to obtain releases from employees who do not have notice of their

11   rights or the claims brought here on their behalf.

12
                                                COUNT I
13                                          Federal WARN Act
14          At all times material herein, Plaintiffs and similarly situated persons have been entitled to

15   the rights, protections, and benefits provided under the federal WARN Act, 29 U.S.C. § 2101 et.
16   seq. 24. Twitter was, and is, subject to the notice and back pay requirements of the federal
17   WARN Act because Twitter is a business enterprise that employed 100 or more employees,
18   excluding part-time employees, and/or, employed 100 or more employees who in the aggregate
19   work at least 4,000 hours per week (exclusive of overtime), as defined in the WARN Act. 29
20   U.S.C. §§ 2101(1)(A) and(B). Twitter is now engaged in conducting mass layoffs without
21
     providing the required notice under the federal WARN Act.
22

23
                                                 COUNT II
24                                         California WARN Act
25          At all times material herein, Plaintiffs and similarly situated persons who have worked
26   for Twitter in California have been entitled to the rights, protections, and benefits provided under
27
                                                    7
28                                       CLASS ACTION COMPLAINT
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1
     the California WARN Act, Cal. Lab. Code § 1400 et seq. Twitter was, and is, subject to the
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     notice and back pay requirements of the California WARN Act because Twitter is a business
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     enterprise that employed 75 or more employees, as defined in the California WARN Act, Cal.
4
     Lab. Code § 1400(a). Twitter is now engaged in conducting mass layoffs without providing the
5
     required notice under the California WARN Act.
6

7
                                            COUNT III
8                           Declaratory Judgment Act, 28 U.S.C. §§ 2201-02
            An actual controversy of sufficient immediacy exists between the parties as to the
9

10
     concern by Plaintiffs that Twitter should be prohibited from circumventing the requirements of

11   the WARN Act and the California WARN Act by conducting mass layoffs without providing the

12   required notice and by soliciting the employees it is laying off to sign separation agreements that

13   release their claims under the WARN Act and/or California WARN Act, without first informing

14   them of this lawsuit or their rights under those statutes. Plaintiffs seek a declaratory judgment

15   and an injunction prohibiting Twitter from engaging in such conduct.
16

17          WHEREFORE, Plaintiffs request that this Court enter the following relief:
18          a. Declare and find that the Defendant has violated the WARN Act, 29 U.S.C. § 2101 et
19              seq. and the California WARN Act, Cal. Lab. Code §§ 1400 et seq.
20          b. Certify a class action and appoint Plaintiffs and their counsel to represent a class of
21
                Twitter employees under Count I who have worked for Twitter anywhere in the
22
                United States and are laid off without required notice, in conjunction with the mass
23
                layoff described herein;
24
            c. Certify a class action and appoint Plaintiffs and their counsel to represent a class of
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                Twitter employees under Count II who have worked for Twitter in California and are
26
                laid off, without required notice, in conjunction with the mass layoff described herein;
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                                                      8
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1
     d. Enter declaratory relief and an injunction under Count III enjoining Twitter from
2
        violating the WARN Act and/or California WARN Act and from seeking releases of
3
        claims under the WARN Act and/or California WARN Act under claims without
4
        informing employees of the pendency of this lawsuit and their rights under those
5
        statutes.
6
     e. Award compensatory damages, including all expenses and wages owed, in an amount
7
        according to proof;
8
     f. Award pre- and post-judgment interest;
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10
     g. Award reasonable attorneys’ fees, costs, and expenses;

11   h. Any other relief to which the Plaintiffs may be entitled.

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1                                            Respectfully submitted,
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                                             EMMANUEL CORNET, JUSTINE DE CAIRES,
3                                            GRAE KINDEL, ALEXIS CAMACHO, AND
                                             JESSICA PAN, on behalf of themselves and all
4                                            others similarly situated,
5                                            By their attorneys,
6

7
                                             _/s/ Shannon Liss-Riordan____________
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15
     Dated:       November 3, 2022
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